Case 2:16-cv-02859-CAS-PLA Document 519-2 Filed 06/04/18 Page 1 of 19 Page ID
                                 #:21481


  1   Amanda Tessar (admitted pro hac vice)
      ATessar@perkinscoie.com
  2   PERKINS COIE LLP
  3   1900 Sixteenth Street, Suite 1400
      Denver, CO 80202-5255
  4   Telephone: 303.291.2300
      Facsimile: 303.291.2400
  5
      Ramsey M. Al-Salam
  6   RAlsalam@perkinscoie.com
      PERKINS COIE LLP
  7   1201 Third Avenue Suite 4900
      Seattle, WA 98101-3099
  8   Telephone: 206.359.6385
      Facsimile: 206.359.7385
  9
10    ATTORNEYS FOR PLAINTIFFS
      (Additional Counsel Listed on Signature Page)
11
                          UNITED STATES DISTRICT COURT
12                       CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION
13
14    MACOM TECHNOLOGY                          Case No. CV 16-02859 CAS (PLAx)
      SOLUTIONS HOLDINGS, INC., a
15    Delaware corporation, and                 PLAINTIFFS’ MEMORANDUM IN
      NITRONEX, LLC, a Delaware limited         SUPPORT OF MOTION FOR
16    liability company,                        SUMMARY JUDGMENT ON
                        Plaintiffs,             ESTOPPEL
17
            v.                                  REDACTED VERSION OF
18                                              DOCUMENT PROPOSED TO BE
      INFINEON TECHNOLOGIES AG, a               FILED UNDER SEAL
19
      corporation organized under the laws of
20    Germany, and INFINEON
      TECHNOLOGIES AMERICAS
21    CORP., a Delaware corporation,

22                      Defendants.

23
24
25
26
27
28
Case 2:16-cv-02859-CAS-PLA Document 519-2 Filed 06/04/18 Page 2 of 19 Page ID
                                 #:21482


  1                                        TABLE OF CONTENTS
  2
                                                                                                                      Page
  3
      I.     INTRODUCTION ........................................................................................... 1
  4   II.    RELEVANT AND UNDISPUTED FACTS .................................................. 2
  5   III.   SUMMARY JUDGMENT OF ESTOPPEL SHOULD BE GRANTED ....... 4
  6          A.      Assignee Estoppel Applies to All the Patents....................................... 4
  7          B.      Judicial Estoppel Applies to the Patents That Infineon
                     Prosecuted ............................................................................................. 8
  8
             C.      The Estoppel Applies to Infineon AG ................................................ 11
  9
      IV.    CONCLUSION ............................................................................................. 13
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                          -i-
Case 2:16-cv-02859-CAS-PLA Document 519-2 Filed 06/04/18 Page 3 of 19 Page ID
                                 #:21483


  1   CASES

  2   Agha-Khan v. U.S.,
        No. 1:15-CV-00042-AWI, 2015 WL 5734380 (E.D. Cal. Sept. 29,
  3     2015) .................................................................................................................... 14
  4
      Alcohol Monitoring Sys., Inc. v. ActSoft, Inc.,
  5      No. 07-cv-02261-PAB, 2011 WL 5075619 (D. Co. 2011) ................................. 11
  6   Analog Devices, Inc. v. Linear Tech. Corp.,
  7     479 F. Supp. 2d 202 (D. Mass. 2007).................................................................. 11
  8   Chaveriat v. Williams Pipe Line Co.,
  9     11 F.3d 1420 (7th Cir. 1993) ............................................................................... 10

10    Coast Metals, Inc. v. Cape,
        No. 78-276, 1979 WL 25083 (D.N.J. Dec. 24, 1979) ............................. 6, 7, 8, 10
11
12    Diamond Sci. Co. v. Ambico, Inc.,
         848 F.2d 1220 (Fed. Cir. 1988) ............................................................... 6, 7, 9, 13
13
      Franklin v. Dudley,
14       No. C08-1223BHS, 2012 WL 4468774 (E.D. Cal. Sept. 27, 2012) ................... 14
15
      Geffner v. Linear Rotary Bearings, Inc.,
16      124 F.3d 229 (Fed. Cir. 1997) ............................................................................... 9
17
      In re Ark-LA-Tex Timber Co., Inc.,
18        482 F.3d 319 (5th Cir. 2007) ......................................................................... 12, 13
19    In re Johnson,
20        518 F.2d 246 (10th Cir. 1975) ............................................................................. 15

21    Lampi Corp. v. Am. Power Prods., Inc.,
        228 F.3d 1365 (Fed. Cir. 2000) ........................................................................... 10
22
23    Lia v. Saporito,
         909 F. Supp. 2d 149 (E.D.N.Y. 2012), aff’d, 541 F. App’x 71 (2d
24       Cir. 2013) ............................................................................................................. 14
25
      Milton H. Greene Archives, Inc. v. Marilyn Monroe LLC,
26       692 F.3d 983 (9th Cir. 2012) ............................................................................... 14
27    New Hampshire v. Maine,
28      532 U.S. 742 (2001) ............................................................................................ 15


                                                              -ii-
Case 2:16-cv-02859-CAS-PLA Document 519-2 Filed 06/04/18 Page 4 of 19 Page ID
                                 #:21484


  1   Reed Elsevier, Inc. v. Muchnick,
         559 U.S. 154 (2010) ...................................................................................... 12, 13
  2
      Rissetto v. Plumbers & Steamfitters Local 343,
  3      94 F.3d 597 (9th Cir. 1996) ................................................................................. 10
  4
      Roberts v. Sears, Roebuck & Co.,
  5     573 F.2d 976 (7th Cir. 1978) ................................................................................. 7
  6   Salessi v. Cmmw. Land Title Ins. Co.,
  7      SA CV 08-01274-DOC, 2013 WL 5676209 (C.D. Cal. Oct. 16,
         2013) .................................................................................................................... 14
  8
  9   Shamrock Techs., Inc. v. Med. Sterilization, Inc.,
         903 F.2d 789 (Fed. Cir. 1990) ............................................................................. 13
10
      Slip Track Sys., Inc. v. Metal Lite, Inc.,
11       113 Fed. Appx. 930 (Fed. Cir. 2004) ............................................................ 6, 7, 8
12
      Steen v. John Hancock Mut. Life Ins. Co.,
13       106 F.3d 904 (9th Cir. 1997) ............................................................................... 14
14    Sybron Transition Corp. v. Nixon, Hargrave, Devans & Doyle,
15       770 F. Supp. 803 (W.D.N.Y. 1991) .............................................................. 6, 7, 8
16    Toyo Tire & Rubber Co. Ltd. v. Hong Kong Tri-Ace Tire Co.,
17       281 F.Supp.3d 967 (C.D. Cal. 2017) ............................................................. 11, 12

18    Trustees in Bankr. of N. Am. Rubber Thread Co. v. U.S.,
         593 F.3d 1346 (Fed. Cir. 2010) ........................................................................... 10
19
20    Tuitama v. Nationstar Mortg. LLC,
         CV1409956MMMAGRX, 2015 WL 12744269 (C.D. Cal. Apr. 13,
21       2015) .................................................................................................................... 14
22
      Washington Mut. Inc. v. United States,
23      636 F.3d 1207 (9th Cir. 2011) ............................................................................. 14
24    Wyler Summit P’ship v. Turner Broad. Sys., Inc.,
25      235 F.3d 1184 (9th Cir. 2000) ............................................................................. 12
26    Zendel v. Circle Location Servs., Inc.,
         CV1107963SJOCWX, 2012 WL 12877182 (C.D. Cal. Apr. 5,
27
         2012) .................................................................................................................... 14
28


                                                              -iii-
Case 2:16-cv-02859-CAS-PLA Document 519-2 Filed 06/04/18 Page 5 of 19 Page ID
                                 #:21485


  1   STATUTES

  2   35 U.S.C. §§102 and 103 ........................................................................................ 3, 5
  3
  4
  5
  6
  7
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                         -iv-
Case 2:16-cv-02859-CAS-PLA Document 519-2 Filed 06/04/18 Page 6 of 19 Page ID
                                 #:21486


  1                                I.     INTRODUCTION
  2         Plaintiffs MACOM Technology Solutions Holdings, Inc., and Nitronex, LLC
  3   (collectively “MACOM”) respectfully seek summary judgment that Defendants
  4   (collectively “Infineon”) are barred by the doctrines of assignee estoppel and
  5   judicial estoppel from contending that the patents-at-issue are invalid. Summary
  6   judgment is appropriate because the material facts are undisputed and the legal
  7   principles are clear. Defendant Infineon Technologies Americas Corp. (“Infineon
  8   Americas”) was assigned the patents in exchange for, among other things, its
  9   promises that: (1) MACOM would be given the exclusive right to practice the
10    patented inventions in a defined field; and (2) Infineon would enforce the patents
11    against infringers or, if it did not, would give MACOM the opportunity to do so.
12
13
14          Infineon now seeks to avoid those obligations by arguing that the patents are
15    invalid. Infineon’s claims are inconsistent with its contractual obligations and
16    undermine the entire purpose of the agreement. Infineon promised not to practice
17    the patents in MACOM’s exclusive field, but now seeks to escape this promise by
18    arguing the patents are invalid. If successful, Infineon’s promise of an exclusive
19    field was illusory. Similarly, Infineon cannot enforce the patents when it has taken
20    a position that they are invalid. Because MACOM relied on Infineon’s promises of
21    an exclusive license and enforcement, Infineon is estopped under the doctrine of
22    assignee estoppel from asserting that the patents are invalid.
23          In addition, Infineon Americas “prosecuted” many of the applications that
24    led to the issuance of the patents-at-issue. In doing so, Infineon represented to the
25    United States Patent and Trademark Office that the patent claims were directed to
26    patentable inventions (e.g., that they met the requirements of 35 U.S.C. §§102 and
27    103). Having successfully advocated for the issuance of the patents, Infineon is
28    precluded, by the doctrine of judicial estoppel, from now contending they are


                                            -1-
Case 2:16-cv-02859-CAS-PLA Document 519-2 Filed 06/04/18 Page 7 of 19 Page ID
                                 #:21487


  1   invalid. Courts consistently hold that a party is estopped from taking a position in
  2   litigation that is directly contrary to a position that it previously successfully
  3   advocated to an administrative agency, such as the Patent and Trademark Office.
  4          Further, both Defendants, not just Infineon Americas, are subject to estoppel.
  5   Although Infineon Technologies AG (“Infineon AG”) has argued that only Infineon
  6   Americas could be estopped, Infineon AG is subject to both forms of estoppel
  7   because it is in privity with Infineon Americas through its parent-subsidiary
  8   relationship.
  9                    II.    RELEVANT AND UNDISPUTED FACTS
10           The facts relevant to assignee estoppel and judicial estoppel are undisputed
11    and are set forth in the Statement of Uncontroverted Facts filed herewith.1 They are
12    summarized here for the Court’s convenience.
13           In 2010, MACOM’s predecessor (Nitronex Corporation) and Infineon
14    Americas (then-named International Rectifier Corporation or “IR”) entered into two
15    related agreements, an Intellectual Property Purchase Agreement (“IP Purchase
16    Agreement”) and a License Agreement (“License Agreement”). Dkt. No. 445 at ¶2
17    (Third Amended Complaint); Dkt. No. 454-1 at ¶2 (Infineon Answer); Al-Salam
18    Decl. Exh. 1 (IP Purchase Agreement); Al-Salam Decl. Exh. 2 (License
19    Agreement). As part of the transaction, MACOM assigned to Infineon Americas
20    fifty-four patents and patent applications. See Al-Salam Decl. Exh. 1 at Exhibit B:
21    Purchased Patents (IP Purchase Agreement).
22           In return, Infineon provided MACOM an exclusive patent license in a
23    defined field of use, with the right to sublicense. Al-Salam Decl. Exh. 2 at ¶2.1
24    (License Agreement). Infineon further agreed to
25
26    1
          The Court denied MACOM’s motion to strike Infineon’s invalidity contentions
27        at the pleading stage, in part, to allow additional facts to be developed on the
          issue of assignee estoppel. Dkt. No. 354. As explained below, the relevant facts
28        are undisputed and warrant summary judgment.

                                             -2-
Case 2:16-cv-02859-CAS-PLA Document 519-2 Filed 06/04/18 Page 8 of 19 Page ID
                                 #:21488


  1
  2
  3                                                Al-Salam Decl., Exh. 1 at ¶4.02 (IP
  4   Purchase Agreement). If Infineon was unsuccessful in stopping infringement and
  5   had not diligently prosecuted an infringement action, MACOM had the right to
  6   enforce the patents against the alleged infringer, including the right to sue in
  7   Infineon’s name and/or join Infineon as a party to the litigation. Id.
  8
  9   Id. at ¶¶3.01, 4.02.
10           In addition, Infineon agreed to take responsibility for prosecuting pending
11    applications, to regularly advise MACOM of the status of the applications, and to
12    give MACOM advance notice before it abandoned any applications. Al-Salam
13    Decl. Exh. 2 at ¶4.01 (License Agreement).
14           Pursuant to these agreements, Infineon successfully prosecuted before the
15    United States Patent and Trademark Office eight of the applications that led to the
16    patents-at-issue. Al-Salam Decl. at ¶ 7.2 In doing so, Infineon authored the
17    relevant patent claims and took the position before the Patent Office that the claims
18    are directed to a valid invention. Id. at ¶ 8. Patent validity requires, among other
19    things, that the claims describe an invention that is new and not obvious as
20    compared to the prior art. 35 U.S.C. §§ 102, 103. For seven of the eight
21    applications, Infineon expressly stated that the claims are “patentably novel and
22    inventive.” Al-Salam Decl. at ¶ 8.
23
24
25    2
          For purposes of this motion, MACOM focuses only on the narrowed list of
26        patents at issue following the Court’s order limiting the number of patent claims
          to fifteen. The following eight of those patents were based on applications that
27        Infineon prosecuted: 8,105,921; 8,344,417; 8,592,862; 8,928,034; 8,937,335;
          9,461,119; 9,437,686; 9,064,775. The arguments apply, of course, to any
28        Nitronex patents prosecuted by Infineon or its predecessor.

                                            -3-
Case 2:16-cv-02859-CAS-PLA Document 519-2 Filed 06/04/18 Page 9 of 19 Page ID
                                 #:21489


  1              Defendant Infineon AG is the parent of Infineon Americas. Dkt. No. 291 at
  2   ¶13.
  3              These facts warrant the grant of summary judgment on estoppel against both
  4   Defendants.
  5       III.    SUMMARY JUDGMENT OF ESTOPPEL SHOULD BE GRANTED
  6   A.         Assignee Estoppel Applies to All the Patents
  7              “Assignee estoppel is an equitable doctrine which, under appropriate
  8   circumstances, bars the assignee of a patent from contesting the validity of the
  9   assigned patent.” Slip Track Sys., Inc. v. Metal Lite, Inc., 113 Fed. Appx. 930, 933
10    (Fed. Cir. 2004) (unpublished3) (citations omitted). “For example, circumstances
11    may warrant application of the doctrine to prevent an assignee from avoiding
12    royalty payments otherwise due under an assignment contract by challenging the
13    validity of the assigned patent.” Slip Track Sys., 113 Fed. Appx. at 933. Absent
14    assignee estoppel, the buyer of a patent could, unfairly, “obtain its benefits and
15    control it and refuse to pay the agreed consideration.” Sybron Transition Corp. v.
16    Nixon, Hargrave, Devans & Doyle, 770 F. Supp. 803, 811 (W.D.N.Y. 1991)
17    (quotation and citations omitted); see Coast Metals, Inc. v. Cape, No. 78-276, 1979
18    WL 25083, at *4 (D.N.J. Dec. 24, 1979).
19               Assignee estoppel is also appropriate where the patent assignee is enforcing,
20    or has the duty to enforce, the patent. See Diamond Sci. Co. v. Ambico, Inc., 848
21    F.2d 1220, 1224 (Fed. Cir. 1988) (“If an assignee of a patent were allowed to
22    challenge the patent, it could be placed in the legally awkward position of
23    simultaneously attacking and defending the validity of the same patent.”).
24               Because patentholders rarely want to invalidate their own patents, the
25    doctrine of assignee estoppel infrequently arises—typically only when assignees are
26    trying to escape contractual obligations in the assignment contract (i.e., the situation
27
28    3
           A copy of the Slip Track decision is attached hereto as Exhibit 9.

                                               -4-
Case 2:16-cv-02859-CAS-PLA Document 519-2 Filed 06/04/18 Page 10 of 19 Page ID
                                  #:21490


  1   here).4 Courts have consistently held over the years, however, that an assignee is
  2   estopped as a matter of law from contesting the validity of its patent.
  3          For example, in Coast Metals, 1979 WL 25083, at *1, the plaintiff sought to
  4   invalidate a patent it was assigned and to rescind its contracts with the inventors-
  5   assignors. The court rejected the attempt, holding that, because of the doctrine of
  6   assignee estoppel, plaintiff could not contest the validity of the patent. Id. at *5.
  7   The court noted that, if the plaintiff could bring its suit attacking the patent, it
  8   would be able to “retain a monopoly while at the same time attacking the patent.”
  9   Id. Unless and until the patent was invalidated, “[n]o one else could use the
 10   [patented technology] for fear of infringement.” Id. In essence, the transaction of
 11   assigning a patent is a “‘bargain and sale’ of its subject matter and the amount
 12   agreed to must be paid” and cannot be avoided by later arguing the patent is invalid.
 13   Id. at *4; see also Roberts v. Sears, Roebuck & Co., 573 F.2d 976, 982 (7th Cir.
 14   1978) (affirming district court’s decision not to decide the validity of the patent
 15   when invalidity was raised by assignee of a patent to attempt to avoid a claim based
 16   on the assignment contract); Sybron, 770 F. Supp. at 812 (assignee estoppel applied
 17   to bar argument in legal malpractice suit that party would have prevailed if its
 18   attorneys had adequately preserved invalidity defense, noting that “permitting the
 19   owner/assignee to assert patent invalidity allows it to escape its obligation to make
 20   full payment for the patent it had purchased”).
 21          These principles apply with particular force in the instant case, where
 22   Infineon’s claims of invalidity directly contravene its contractual commitments.
 23
      4
 24       Assignor estoppel, a cousin doctrine, comes up more frequently. “Assignor
          estoppel is an equitable doctrine that prevents one who has assigned the rights to
 25       a patent (or patent application) from later contending that what was assigned is a
 26       nullity.” Diamond Sci., 848 F.2d at 1224. Although Diamond Scientific
          involved assignor estoppel, the Federal Circuit also recognized assignee estoppel
 27       in that opinion. Id. at 1223-24. Hence, cases involving both the doctrines of
          assignor estoppel and assignee estoppel frequently rely on this case as the source
 28       of both doctrines. See Slip Track Sys., Inc., 113 Fed. Appx. at 933.

                                             -5-
Case 2:16-cv-02859-CAS-PLA Document 519-2 Filed 06/04/18 Page 11 of 19 Page ID
                                  #:21491


  1   Infineon, in exchange for the assignment of the patents, promised MACOM an
  2   exclusive license and further agreed to enforce the patents against infringers or to
  3   give MACOM the opportunity to do so5. If Infineon succeeds in its assertion that
  4   the patents are invalid, MACOM’s exclusivity is illusory. Similarly, Infineon’s
  5   position that the patents are invalid undermines both parties’ ability to enforce the
  6   patents against infringers. The circumstances in the instant case justify the
  7   application of the doctrine of assignee estoppel at least as much as in situations
  8   where the assignee is attempting to avoid paying royalties. There is no material
  9   difference between an assignee’s attempt to avoid paying royalties, and Infineon’s
 10   attempt, in this case, to avoid its commitments of an exclusive license and
 11   enforcement.
 12          Infineon’s prior attempts to distinguish Slip Track also fail. Although the
 13   Federal Circuit declined to apply assignee estoppel in that decision, it was due to
 14   unique facts that are not present here. In particular, the defendant there argued that
 15   Slip Track’s ’760 patent was invalid in light of the ’203 patent, a patent half-owned
 16   by Slip Track. Slip Track was thus forced to assert invalidity of the ’203 patent to
 17   protect the validity of its ‘760 patent, not because it was trying to escape the
 18   bargain it had previously reached with the assignor. In other words, Metal Lite’s
 19   actions “forced Slip Track to choose between protecting the validity of either the
 20   ’760 patent or the ’203 patent. Slip Track made the natural decision to protect its
 21   greater of two property interests, the ’760 patent.” Slip Track, 113 Fed. Appx. at
 22   933. Infineon faces no such conundrum here.
 23          The fact that courts have noted the rarity of cases that raise assignee estoppel
 24   issues does not mean that the doctrine has lost vitality. E.g., Sybron, 770 F. Supp.
 25   at 811; Coast Metals, Inc. v. Cape, No. 78-276, 1979 WL 25083, at *5 (D.N.J. Dec.
 26
      5
          Infineon has in the past emphasized that it also made a payment to MACOM.
 27       While the payment was partial consideration for the assignment, it does not
          change the fact that Infineon’s invalidity contentions would vitiate its
 28       contractual obligations.

                                            -6-
Case 2:16-cv-02859-CAS-PLA Document 519-2 Filed 06/04/18 Page 12 of 19 Page ID
                                  #:21492


  1   24, 1979). Instead, the rarity of the cases instead reflects that most patentees try to
  2   preserve, rather than undermine, the value of their patents.6
  3          The two cases Infineon previously cited for the proposition that assignee
  4   estoppel is not consistently applied also do not support its position. In Geffner v.
  5   Linear Rotary Bearings, Inc., the court declined to allow the assertion of the
  6   affirmative defense of assignee estoppel because plaintiff belatedly raised the
  7   defense. 936 F. Supp. 1150, 1155 (E.D. N.Y. 1996). Specifically, the plaintiff
  8   waited until after the bench trial had already taken place to seek to amend its
  9   complaint to add the defense. Further, on appeal, the Federal Circuit held that the
 10   agreement in that case was actually a license, not an assignment, and therefore
 11   assignee estoppel could not apply. Geffner v. Linear Rotary Bearings, Inc., 124
 12   F.3d 229 (Fed. Cir. 1997). Likewise, Bull v. Logetronics, Inc.—a case that has not
 13   been cited by a single court as precedent for the proposition that assignee estoppel
 14   has been abolished in the 45+ years since it was decided—seems to have involved a
 15   patent license, not a patent assignment. 323 F. Supp. 115, 118 (E.D. Va. 1971)
 16   (discussing breach claims for failure to pay “royalties called for by the exclusive
 17   licensing agreement”).
 18          Infineon is trying to do in this case exactly what the doctrine of assignee
 19   estoppel is designed to prevent: asserting invalidity of patents to avoid its
 20   contractual obligations. Indeed, Infineon’s actions are even worse because it takes
 21   directly inconsistent positions; it is simultaneously asserting that MACOM is
 22   infringing the patents and then, when it wants to practice in MACOM’s exclusive
 23   field, asserting that the same patents are invalid. Cf. Diamond Sci. Co. v. Ambico,
 24
 25   6
          The Supreme Court case previously cited by Infineon, Kimble v. Marvel
 26       Entertainment, LLC, did not evaluate or consider the doctrine of assignee
          estoppel. 135 S. Ct. 2401 (2015). Kimble instead analyzed the antitrust rule that
 27       prohibits patentholders from charging royalties after patent expiration. There is
          no argument here that the Nitronex Patents have expired or that royalties are
 28       due.

                                            -7-
Case 2:16-cv-02859-CAS-PLA Document 519-2 Filed 06/04/18 Page 13 of 19 Page ID
                                  #:21493


  1   Inc., 848 F.2d 1220, 1224–25 (Fed. Cir. 1988) (“If an assignee of a patent were
  2   allowed to challenge the patent, it would be placed in the legally awkward position
  3   of simultaneously attacking and defending the validity of the same patent.”); Coast
  4   Metals, 1979 WL 25083 at *4-5 (“Coast owns the patent. If it were able to bring
  5   this suit it would be able to retain a monopoly while at the same time attacking the
  6   patent. No one else could use the [patented technology] for fear of infringement.
  7   Indeed, Coast could well be in the position of simultaneously attacking and
  8   defending the patent.”).
  9   B.      Judicial Estoppel Applies to the Patents That Infineon Prosecuted
 10           Assignee estoppel is sufficient to support summary judgment that Infineon is
 11   estopped from invalidating the patents-in-suit. In addition, however, judicial
 12   estoppel is an independent basis for summary judgment on the long list of patents
 13   that Infineon itself prosecuted.
 14           “Judicial estoppel, sometimes also known as the doctrine of preclusion of
 15   inconsistent positions, precludes a party from gaining an advantage by taking one
 16   position, and then seeking a second advantage by taking an incompatible position.”
 17   Rissetto v. Plumbers & Steamfitters Local 343, 94 F.3d 597, 600 (9th Cir. 1996).7
 18   The doctrine applies to statements made in administrative proceedings:
 19                 Unsurprisingly given its name, judicial estoppel is often
 20                 articulated as applying to ‘judicial’ proceedings.
                    However, many cases have applied to the doctrine where
 21                 the prior statement was made in an administrative
 22                 proceeding, and we are not aware of any case refusing to
                    apply the doctrine because the prior proceeding was
 23                 administrative rather than judicial.
 24   Id. at 604-5 (collecting authorities); see also Trustees in Bankr. of N. Am. Rubber
 25   Thread Co. v. U.S., 593 F.3d 1346, 1354 (Fed. Cir. 2010); Chaveriat v. Williams
 26
      7
 27        The Federal Circuit, which hears appeals of patent cases, applies the law of the
           regional circuit on judicial estoppel. Lampi Corp. v. Am. Power Prods., Inc.,
 28        228 F.3d 1365, 1377 (Fed. Cir. 2000).

                                             -8-
Case 2:16-cv-02859-CAS-PLA Document 519-2 Filed 06/04/18 Page 14 of 19 Page ID
                                  #:21494


  1   Pipe Line Co., 11 F.3d 1420, 1427 (7th Cir. 1993) (“[T]he doctrine has been
  2   applied, rightly in our view, to proceedings in which a party to an administrative
  3   proceeding obtains a favorable order that he seeks to repudiate….”).
  4          Courts have specifically held that patent owners cannot take positions
  5   inconsistent with those taken before the Patent Office. See Alcohol Monitoring
  6   Sys., Inc. v. ActSoft, Inc., No. 07-cv-02261-PAB, 2011 WL 5075619, at *5 (D. Co.
  7   2011) (“Judicial estoppel could apply should plaintiff assert a position that is
  8   contrary to the positions plaintiff took in front of the PTO.”); Analog Devices, Inc.
  9   v. Linear Tech. Corp., 479 F. Supp. 2d 202, 212 (D. Mass. 2007) (“ADI is estopped
 10   from arguing that these two circuits it said were not obvious for purposes of
 11   patentability [to the PTO] are now mere commercial production details already
 12   familiar to those of ordinary skill in the art.”).
 13          The courts apply three factors in determining whether estoppel applies:
 14                 “First, a party’s later position must be ‘clearly
                    inconsistent’ with its earlier position.” New Hampshire,
 15
                    532 U.S. at 750, 121 S. Ct. 1808 (citation omitted).
 16                 “Second, courts regularly inquire whether the party has
                    succeeded in persuading a court to accept that party’s
 17
                    earlier position, so that judicial acceptance of an
 18                 inconsistent position in a later proceeding would create
                    ‘the perception that either the first or the second court was
 19
                    misled.’” Id. (citation omitted). “A third consideration is
 20                 whether the party seeking to assert an inconsistent
                    position would derive an unfair advantage or impose an
 21
                    unfair detriment on the opposing party if not estopped.”
 22                 Id. at 751, 121 S. Ct. 1808.
 23   Toyo Tire & Rubber Co. Ltd. v. Hong Kong Tri-Ace Tire Co., 281 F.Supp.3d 967,
 24   981 (C.D. Cal. 2017).
 25          These three factors support the application of judicial estoppel here. First,
 26   Infineon’s position that the claims are invalid is clearly inconsistent with the
 27
 28

                                              -9-
Case 2:16-cv-02859-CAS-PLA Document 519-2 Filed 06/04/18 Page 15 of 19 Page ID
                                  #:21495


  1   position it took before the Patent Office, when it advocated that the claims were
  2   patentable.
  3         Second, Infineon was successful in convincing the Patent Office to issue the
  4   claims. The Patent Office accepted Infineon’s arguments and allowed the
  5   applications to issue as the patents-at-issue.
  6         Third, Infineon would derive an unfair advantage if it were allowed now to
  7   contravene its earlier position so it can operate in MACOM’s exclusive field.
  8   Accordingly, the factors support the application of judicial estoppel, and the Court
  9   should preclude Infineon from arguing that claims it successfully advocated to the
 10   Patent Office were valid are actually invalid. See Toyo Tire, 281 F.Supp.3d at 981
 11   (finding that judicial estoppel barred defendant from challenging the validity of
 12   plaintiff’s trade dress where defendant had previously entered into stipulation that
 13   trade dress was valid and protectable).
 14         The only cases previously cited by Infineon on the issue of judicial estoppel
 15   are inapt. In Wyler Summit, for example, the court held that plaintiff had not taken
 16   an inconsistent position, so estoppel did not apply. Wyler Summit P’ship v. Turner
 17   Broad. Sys., Inc., 235 F.3d 1184, 1190-91 (9th Cir. 2000) (“[T]he fact that Mr.
 18   Wyler claimed $50,000 … on his taxes does not … contradict Wyler Summit’s
 19   current claim….”). In contrast, Infineon has taken inconsistent positions before the
 20   Patent Office and here. Similarly, in the only other cases cited by Infineon, the
 21   party not estopped was unsuccessful in advocating an earlier inconsistent position.
 22   In Reed Elsevier, for example, the defendant had previously asserted,
 23   unsuccessfully, both that the district court did not have subject matter jurisdiction
 24   over a class action and that it did have jurisdiction to approve a settlement. Reed
 25   Elsevier, Inc. v. Muchnick, 559 U.S. 154 (2010). The Supreme Court held these
 26   unsuccessful positions did not create estoppel. Similarly, in Ark-LA-Tex Timber,
 27   the Fifth Circuit acknowledged that the “doctrine of judicial estoppel prohibits
 28   parties from deliberating changing positions according to the exigencies of the


                                            -10-
Case 2:16-cv-02859-CAS-PLA Document 519-2 Filed 06/04/18 Page 16 of 19 Page ID
                                  #:21496


  1   moment ….” In re Ark-LA-Tex Timber Co., Inc., 482 F.3d 319, 332-33 (5th Cir.
  2   2007). The court did not apply judicial estoppel, however, because the party to be
  3   estopped “was not successful in persuading the [court] to accept its earlier position”
  4   and because the “failure to assert a particular position does not trigger estoppel.”
  5   Id. at 332-33 (also noting that estoppel applies to positions taken). These situations
  6   are clearly distinct from the instant case, where Infineon did prevail that the claims
  7   were patentable and their current position creates the “perception that [the Patent
  8   Office] was misled.” Reed Elsevier, 559 U.S. at 170.
  9   C.    The Estoppel Applies to Infineon AG
 10         In connection with claim construction, Infineon AG asserted that even if
 11   Infineon Americas were estopped, Infineon AG is not estopped because it is not the
 12   assignee of the patents and did not prosecute the relevant patent applications. This
 13   is wrong. Estoppel applies to Infineon AG because it is in privity with Infineon
 14   Americas. Both the doctrines of assignee and judicial estoppel estop parties in
 15   privity with parties otherwise estopped.
 16         Assignee estoppel applies to those in privity with the assignee. See Diamond
 17   Sci., 848 F.2d at 1225 (noting, in case acknowledging the doctrines of assignor and
 18   assignee estoppel, that “there are still circumstances in which the equities of the
 19   contractual relationships between the parties should deprive one party (as well as
 20   others in privity with it) of the right to bring that challenge”) (emphasis added).
 21   This issue has come up frequently in the context of assignor estoppel, where courts
 22   consistently hold that privies of an assignor are estopped, just like the assignor
 23   itself. See MAG Aerospace Indus., Inc., 2015 WL 12488489, at *4 (“[A]ssignor
 24   estoppel is an equitable doctrine that prohibits an assignor of a patent or patent
 25   application, or one in privity with him, from attacking the validity of that patent
 26   when he is sued for infringement by the assignee.”) (emphasis added) (citations
 27   omitted); Shamrock Techs., Inc. v. Med. Sterilization, Inc., 903 F.2d 789, 793-94
 28   (Fed. Cir. 1990) (“[A]ssignor estoppel is an equitable doctrine ... that is mainly


                                           -11-
Case 2:16-cv-02859-CAS-PLA Document 519-2 Filed 06/04/18 Page 17 of 19 Page ID
                                  #:21497


  1   concerned with the balance of the equities between the parties. ... Those in privity
  2   with the assignor partake of that balance; hence, extension of the estoppel to those
  3   in privity is justified.”) (internal quotations omitted). The reason for the rule is
  4   manifest: the estopped party should not be able to avoid application of the equitable
  5   estoppel doctrine by having its privies assert a defense it could not. The exact same
  6   reasoning applies for assignee estoppel.
  7         Further, Infineon AG is in privity with Infineon Americas; thus, the doctrine
  8   of assignee estoppel applies to bar it from raising an invalidity defense as well.
  9   Infineon Americas is a wholly-owned subsidiary of Infineon AG. “[P]rivity exists
 10   between a parent corporation and its wholly-owned subsidiary.” Zendel v. Circle
 11   Location Servs., Inc., CV1107963SJOCWX, 2012 WL 12877182, at *4 (C.D. Cal.
 12   Apr. 5, 2012); see also, e.g., Agha-Khan v. U.S., No. 1:15-CV-00042-AWI, 2015
 13   WL 5734380, at *6 (E.D. Cal. Sept. 29, 2015) (recognizing parents and subsidiaries
 14   as a category of privies); Tuitama v. Nationstar Mortg. LLC,
 15   CV1409956MMMAGRX, 2015 WL 12744269, at *10 (C.D. Cal. Apr. 13, 2015)
 16   (finding parent to be in privity with subsidiary); Salessi v. Cmmw. Land Title Ins.
 17   Co., SA CV 08-01274-DOC, 2013 WL 5676209, at *9 (C.D. Cal. Oct. 16, 2013)
 18   (“Privity can be shown through a corporate parent and its wholly-owned
 19   subsidiary.”).
 20         Judicial estoppel also extends to those in privity with the party taking
 21   inconsistent positions. Milton H. Greene Archives, Inc. v. Marilyn Monroe LLC,
 22   692 F.3d 983, 996 (9th Cir. 2012) (finding that beneficiaries were in privity with
 23   positions taken by executor and thus were subject to judicial estoppel); Washington
 24   Mut. Inc. v. United States, 636 F.3d 1207, 1216 (9th Cir. 2011) (“Collateral
 25   estoppel applies … against a party that is in privity to a party in previous
 26   litigation.”); Steen v. John Hancock Mut. Life Ins. Co., 106 F.3d 904, 910 (9th Cir.
 27   1997); Franklin v. Dudley, No. C08-1223BHS, 2012 WL 4468774, at *2 (E.D. Cal.
 28   Sept. 27, 2012); Lia v. Saporito, 909 F. Supp. 2d 149, 175 (E.D.N.Y. 2012), aff'd,


                                            -12-
Case 2:16-cv-02859-CAS-PLA Document 519-2 Filed 06/04/18 Page 18 of 19 Page ID
                                  #:21498


  1   541 F. App'x 71 (2d Cir. 2013) (holding that judicial estoppel applies “against a
  2   party that is in privity to a party in [a] prior litigation”); In re Johnson, 518 F.2d
  3   246, 252 (10th Cir. 1975) (“Under the doctrine of judicial estoppel a party and his
  4   privies who have knowingly and deliberately assumed a particular position are
  5   estopped from assuming an inconsistent position to the prejudice of the adverse
  6   party.”) (emphasis added).
  7         Just as is the case for Infineon Americas, it would also make no sense to
  8   allow Infineon AG to argue invalidity. The result would be that Infineon would be
  9   taking advantage of a corporate shell game because Infineon AG would be able to
 10   assert defenses that its subsidiary is precluded from raising. Equity supports the
 11   grant of summary judgment against both Infineon Americas and Infineon AG. New
 12   Hampshire v. Maine, 532 U.S. 742, 749 (2001) (noting that the purpose of the
 13   doctrine of judicial estoppel is “to protect the integrity of the judicial process” by
 14   “prohibiting parties from deliberately changing positions according to the
 15   exigencies of the moment”) (citation omitted).
 16                                   IV.    CONCLUSION
 17         For the reasons above, MACOM should be granted summary judgment that
 18   assignee and judicial estoppel applies to both Infineon Americas and Infineon AG,
 19   such that judgment is entered in favor of MACOM on Infineon Americas’ Fifth
 20   Affirmative Defense and Infineon AG’s Fifth Affirmative Defense and Infineon is
 21   precluded from asserting any further arguments of patent invalidity in this case.
 22
            Respectfully submitted this 4th day of June, 2018.
 23
 24                                          PERKINS COIE LLP
 25
                                             By:/s/ Amanda Tessar
 26                                             Amanda Tessar (pro hac vice)
                                                ATessar@perkinscoie.com
 27                                             Elizabeth Banzhoff (pro hac vice)
                                                EBanzhoff @perkinscoie.com
 28

                                            -13-
Case 2:16-cv-02859-CAS-PLA Document 519-2 Filed 06/04/18 Page 19 of 19 Page ID
                                  #:21499

                                          PERKINS COIE LLP
  1                                       1900 Sixteenth Street, Suite 1400
                                          Denver, CO 80202-5255
  2                                       Telephone: 303.291.2300
                                          Facsimile: 303.291.2400
  3
                                          Ramsey M. Al-Salam
  4                                       RAlsalam@perkinscoie.com
                                          PERKINS COIE LLP
  5                                       1201 Third Avenue Suite 4900
                                          Seattle, WA 98101-3099
  6                                       Telephone: 206.359.6385
                                          Facsimile: 206.359.7385
  7
                                          Lara J. Dueppen, Bar No. 259075
  8                                       LDueppen@perkinscoie.com
                                          PERKINS COIE LLP
  9                                       1888 Century Park East, Suite 1700
                                          Los Angeles, CA 90067-1721
 10                                       Telephone: 310.788.9900
                                          Facsimile: 310.788.3399
 11
 12                                       Daniel T. Keese, Bar No. 280683
                                          DKeese@perkinscoie.com
 13                                       PERKINS COIE LLP
                                          1120 N.W. Couch Street, 10th Floor
 14                                       Portland, OR 97209-4128
                                          Telephone: 503.727.2000
 15                                       Facsimile: 503.727.2222
 16                                       Morgan Chu (State Bar No. 70446)
                                          (mchu@irell.com)
 17                                       Ellisen Turner (State Bar No. 224842)
                                          (eturner@irell.com)
 18                                       IRELL & MANELLA LLP
                                          1800 Avenue of the Stars, Suite 900
 19                                       Los Angeles, CA 90067-4276
                                          Telephone: 310-277-1010
 20                                       Facsimile: 310-203-7199
 21
                                          ATTORNEYS FOR PLAINTIFFS
 22
 23
 24
 25
 26
 27
 28

                                       -14-
